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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 13-16522
         Kenya A Enge

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 04/20/2013.

         2) The plan was confirmed on 09/13/2013.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/25/2014.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 02/10/2014, 08/25/2014.

         5) The case was dismissed on 10/17/2014.

         6) Number of months from filing to last payment: 18.

         7) Number of months case was pending: 21.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $1,178.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

         Total paid by or on behalf of the debtor             $3,915.00
         Less amount refunded to debtor                         $222.50

 NET RECEIPTS:                                                                                    $3,692.50


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                               $2,938.62
     Court Costs                                                             $0.00
     Trustee Expenses & Compensation                                       $144.00
     Other                                                                   $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $3,082.62

 Attorney fees paid and disclosed by debtor:                   $0.00


 Scheduled Creditors:
 Creditor                                     Claim         Claim            Claim        Principal      Int.
 Name                               Class   Scheduled      Asserted         Allowed         Paid         Paid
 AMERICREDIT FINANCIAL DBA GM F Unsecured     13,457.00     11,300.53        11,300.53            0.00       0.00
 ATG CREDIT                     Unsecured         219.00           NA               NA            0.00       0.00
 CAPITAL ACCOUNTS               Unsecured         292.00           NA               NA            0.00       0.00
 CAVALRY PORTFOLIO SERVICE LLC Unsecured          552.00           NA               NA            0.00       0.00
 CAVALRY PORTFOLIO SERVICES     Unsecured         563.00        564.74           564.74           0.00       0.00
 CITY OF CHICAGO DEPT OF REVENU Unsecured      5,300.00       5,625.50         5,625.50           0.00       0.00
 CITY OF MARKHAM                Unsecured         100.00           NA               NA            0.00       0.00
 COMED LEGAL REVENUE RECOVERY Unsecured           601.00        600.63           600.63           0.00       0.00
 COOK COUNTY CIRCUIT COURT CLE Unsecured          831.00           NA               NA            0.00       0.00
 DEBT RECOVERY SOLUTIONS        Unsecured      1,171.00       1,176.77         1,176.77           0.00       0.00
 DEPENDON COLLECTION SERVICE    Unsecured         225.00           NA               NA            0.00       0.00
 DUPAGE COUNTY CLERK            Unsecured      1,061.00            NA               NA            0.00       0.00
 FED LOAN SERVICING             Unsecured      4,500.00            NA               NA            0.00       0.00
 FED LOAN SERVICING             Unsecured         920.00           NA               NA            0.00       0.00
 FED LOAN SERVICING             Unsecured      3,500.00            NA               NA            0.00       0.00
 FED LOAN SERVICING             Unsecured      2,580.00            NA               NA            0.00       0.00
 FED LOAN SERVICING             Unsecured      2,150.00            NA               NA            0.00       0.00
 FED LOAN SERVICING             Unsecured      5,500.00            NA               NA            0.00       0.00
 FED LOAN SERVICING             Unsecured      1,228.00            NA               NA            0.00       0.00
 FED LOAN SERVICING             Unsecured      3,002.00            NA               NA            0.00       0.00
 GREAT LAKES HIGHER EDUCATION Unsecured       16,629.00     21,411.83        21,411.83            0.00       0.00
 GREAT LAKES HIGHER EDUCATION Unsecured        4,532.00            NA               NA            0.00       0.00
 IC SYSTEM                      Unsecured         303.00           NA               NA            0.00       0.00
 ILLINOIS BELL TELEPHONE COMPAN Unsecured         409.00        409.14           409.14           0.00       0.00
 ILLINOIS DEPT OF REVENUE       Priority       7,022.49       7,022.49         7,022.49           0.00       0.00
 ILLINOIS DEPT OF REVENUE       Unsecured      2,111.64       2,111.64         2,111.64           0.00       0.00



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 Scheduled Creditors:
 Creditor                                   Claim           Claim         Claim        Principal       Int.
 Name                             Class   Scheduled        Asserted      Allowed         Paid          Paid
 INTERNAL REVENUE SERVICE     Unsecured     11,603.93       11,603.93     11,603.93            0.00        0.00
 INTERNAL REVENUE SERVICE     Priority       1,046.88         1,046.88      1,046.88           0.00        0.00
 JEFFERSON CAPITAL SYSTEMS    Unsecured         553.00          553.89        553.89           0.00        0.00
 JEFFERSON CAPITAL SYSTEMS    Unsecured            NA           244.00        244.00           0.00        0.00
 LVNV FUNDING                 Unsecured         469.00          399.39        399.39           0.00        0.00
 NCO FINANCIAL SYSTEMS        Unsecured         111.00             NA            NA            0.00        0.00
 PAYLIANCE                    Unsecured         215.00             NA            NA            0.00        0.00
 SPRINT NEXTEL                Unsecured         685.00             NA            NA            0.00        0.00
 SPRINT NEXTEL                Unsecured      1,096.00         1,780.85      1,780.85           0.00        0.00
 TCF NATIONAL BANK            Unsecured         522.00             NA            NA            0.00        0.00
 TITLE MAX OF ILLINOIS        Unsecured            NA           283.61        283.61           0.00        0.00
 TITLE MAX OF ILLINOIS        Secured        2,000.00         2,000.00      2,000.00        522.89       86.99
 US DEPARTMENT OF EDUCATION   Unsecured      6,000.00       36,818.28     36,818.28            0.00        0.00


 Summary of Disbursements to Creditors:
                                                            Claim            Principal                Interest
                                                          Allowed                Paid                    Paid
 Secured Payments:
       Mortgage Ongoing                                      $0.00              $0.00                  $0.00
       Mortgage Arrearage                                    $0.00              $0.00                  $0.00
       Debt Secured by Vehicle                           $2,000.00            $522.89                 $86.99
       All Other Secured                                     $0.00              $0.00                  $0.00
 TOTAL SECURED:                                          $2,000.00            $522.89                 $86.99

 Priority Unsecured Payments:
        Domestic Support Arrearage                           $0.00                $0.00                $0.00
        Domestic Support Ongoing                             $0.00                $0.00                $0.00
        All Other Priority                               $8,069.37                $0.00                $0.00
 TOTAL PRIORITY:                                         $8,069.37                $0.00                $0.00

 GENERAL UNSECURED PAYMENTS:                         $94,884.73                   $0.00                $0.00


 Disbursements:

        Expenses of Administration                            $3,082.62
        Disbursements to Creditors                              $609.88

 TOTAL DISBURSEMENTS :                                                                         $3,692.50




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 01/14/2015                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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